                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:24-CV-440-KDB-DCK

 KELLY MILLIGAN,                               )
                                               )
                 Plaintiff,                    )                    ORDER
                                               )
    v.                                         )
                                               )
 MERRILL LYNCH, et al.,                        )
                                               )
                 Defendants.                   )
                                               )


         THIS MATTER IS BEFORE THE COURT on the parties’ second “Joint Motion

Regarding Briefing Schedule For Defendants’ Motion For Summary Judgment” (Document No.

48) filed October 11, 2024. This motion has been referred to the undersigned Magistrate Judge

pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having carefully considered

the motion and the record, the undersigned will grant the motion. Further extensions are unlikely

to be allowed.

         IT IS, THEREFORE, ORDERED that the parties’ second “Joint Motion Regarding

Briefing Schedule For Defendants’ Motion For Summary Judgment” (Document No. 48) is

GRANTED.

         IT IS FURTHER ORDERED that the parties shall meet and confer and then file a motion,

jointly if possible, proposing revised deadlines for Plaintiff’s Response and Defendants’ Reply

regarding “Defendants’ Motion For Summary Judgment” (Document No. 41) on or before

October 18, 2024.

         IT IS FURTHER ORDERED that the parties shall file a Notice identifying their Mediator

on or before October 28, 2024.




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SO ORDERED.

                 Signed: October 14, 2024




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